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                               CASE NO. 21-30399

               IN THE UNITED STATES COURT OF APPEALS
                        FOR THE FIFTH CIRCUIT

          Ackel Construction Company L.L.C. and George J. Ackel, III,
                                 Appellants
                                      v.
                             Midland States Bank,
                                  Appellee


             On Appeal from the United States District Court For the
                  Eastern District of Louisiana, New Orleans
                            Case No. 2:21-cv-422


 APPELLEE’S Rule 27.1 MOTION TO ABATE BRIEFING SCHEDULES
 PENDING CONSIDERATION OF MOTION TO DISMISS APPEAL FOR
                    LACK OF JURISDICTION


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                                 Appellants
                                      v.
                             Midland States Bank,
                                  Appellee



                CERTIFICATE OF INTERESTED PERSONS

      Pursuant to Fifth Circuit Rule 28.2.1, the undersigned counsel of record

certifies that the following persons and entities are financially interested in the

outcome of this case. These representations are made in order that the judges of this

court may evaluate possible disqualification or recusal.

      1. Appellee, Midland States Bank
         Principal Place of Business: Effingham, Illinois

      2. Orion First Financial LLC, account servicer for Midland States Bank
         Principal Place of Business: Gig Harbor, Washington

      3. Appellant, George J. Ackel, III
         City and State of Residence: New Orleans, Louisiana

      4. Appellant, Ackel Construction Company, LLC
         Principal Place of Business: Elmwood, Louisiana


                                                        /s/H. Gray Burks, IV
                                                        H. Gray Burks, IV


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                     CERTIFICATE OF CONFERENCE

      I certify that I attempted to contact Matt Pepper, attorney for Appellants by
voicemail message and by email on August 20, 2021, regarding a motion to dismiss
appeal for lack of jurisdiction and an accompanying motion to abate briefing
schedules pending consideration of the motion to dismiss. As of August 23, 2021,
6:15 pm, no response has been received. I assume the motion to dismiss appeal is
opposed. I do not know if the motion to abate briefing schedule is unopposed or
opposed.

                                                       /s/H. Gray Burks, IV
                                                       H. Gray Burks, IV




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                REQUEST TO ABATE BRIEFING SCHEDULE

      1.      On August 23, 2021, Appellee, Midland States Bank filed a motion to

dismiss appeal for lack of jurisdiction. It is anticipated the Motion to Dismiss Appeal

is opposed. It is undetermined whether this Motion to Abate Briefing Schedule is

unopposed.

      2.      Due to the Fifth Circuit precedent regarding a late filed notice of appeal

to the District Court depriving the District Court and Court of Appeals of

jurisdiction, judicial economy, and the time and expense of the parties would best

be served by abating the briefing schedule pending a ruling on the motion to dismiss

appeal.

   WHEREFORE PREMISES CONSIDERED, pursuant to Fifth Circuit Rule

27.1.3, Midland States Bank respectfully requests that the Clerk enter a procedural

order or that the Court enter an order abating the pending briefing schedule for the

Brief of the Appellants and Brief of the Appellee and Reply Brief of the Appellants

and grant Appellee such other and further relief in equity or at law to which they

show themselves justly entitled.

                                                Respectfully submitted,


                                                /s/ H. Gray Burks, IV
                                                H. Gray Burks, IV
                                                Texas Bar No. 03418320
                                                Law Office of Gerald M. Shapiro,
                                                LLP
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                                     through its account servicer Orion
                                     First Financial, LLC




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           CERTIFICATE OF COMPLIANCE WITH RULE 32(a)

       1.    This motion complies with the type-volume limitation of Fed. R. App.
P. 27(d)(2) because, excluding the parts of the document exempted by Fed. R. App.
P. 27(a)(2)(b), this motion does not exceed 20 pages and contains no more than 5,200
words and no more than 1,300 lines of text.

       2.     This motion complies with the typeface requirements and the type style
requirements of Fed. R. App. P. 27(d)(1)(E) because this motion has been prepared
in a proportionally spaced typeface using Microsoft Word for Office 365 MSO in 14
pt. Times New Roman font.


                                               /s/H. Gray Burks, IV
                                               H. Gray Burks, IV




                         CERTIFICATE OF SERVICE


      I hereby certify that on August 23, 2021, a true and correct copy of the
foregoing Motion was served by email and ECF/CM delivery as follows:

Matthew Pepper
Via email at: pepperlaw@msn.com


                                               /s/ H. Gray Burks, IV
                                               H. Gray Burks, IV




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